                               NO. 07-09-0281-CR
                               NO. 07-09-0282-CR
                                       
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	NOVEMBER 2, 2010

	______________________________


	JOHN VANEXCEL,

									Appellant

	v.

	THE STATE OF TEXAS,

									Appellee
	_____________________________

	FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;

	NOS. 46,760-B, 46,761-B; HON. JOHN B. BOARD, PRESIDING
	______________________________
                                       
                              Memorandum Opinion
                        ______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
	Appellant, John Vanexcel, appeals his convictions for possession of marijuana (46,760-B) and possession with intent to deliver cocaine (46,761-B). Through five issues, appellant contends the trial court abused its discretion in denying his motion to suppress.   We affirm.

	In general, when a court overrules a pretrial motion to suppress evidence, the defendant need not object to the same evidence in order to preserve the error on appeal.  Brown v. State, 183 S.W.3d 728, 741 (Tex. App. - Houston [1st Dist.] 2005, pet. ref'd) (citing Moraguez v. State, 701 S.W.2d 902, 904 (Tex.Crim.App. 1986)).  However, when a defendant affirmatively states that he has "no objection" to the admission of the complained of evidence, the defendant waives any error in the admission of the evidence.  Brown, 183 S.W.3d at 741; see also Harris v. State, 656 S.W.2d 481, 484 (Tex.Crim.App. 1983) (holding that appellant's complaint that the trial court erred in overruling his motion to suppress evidence obtained as a result of illegal seizures was rendered moot when State offered complained of evidence and defense counsel affirmatively stated "no objection").  Here, the record reflects that appellant obtained an adverse ruling on his pretrial motion to suppress.  However, when the State offered the offending evidence during the bench trial, appellant's trial counsel waived any error in the admission of the evidence by affirmatively stating no objection.  See Brown, 183 S.W.3d at 741.  Therefore, we overrule all of appellant's issues as an attack on the motion to suppress ruling.
	Accordingly, we affirm the judgments of the trial court.

								Per Curiam

Do not publish. 
	
	

